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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JULIO CHRISTIAN,                               :
     Plaintiff,                                :
                                               :
       v.                                      :       CIVIL ACTION NO. 20-CV-1424
                                               :
CITY OF PHILADELPHIA, et al.,                  :
     Defendants.                               :

                                               ORDER

       AND NOW, this 19th day of October, 2020, upon consideration of Plaintiff Julio

Christian’s Motion to Proceed In Forma Pauperis (ECF No. 7), his Complaint (ECF No. 1), his

Motion for Judgement (ECF No. 5), his Amended Complaint (ECF No. 9), his Motions for

Leave to File Amended Complaint (ECF Nos. 10 & 12), his Notices to the Court (ECF Nos. 11

& 23), his General Response (ECF No. 14), his Notices/Proposals of Settlement (ECF Nos. 16,

17, & 19), his Motion for Order for Judgement in Equity (ECF No. 15), his Affidavit in Support

of Claim Upon Conclusive Evidence (ECF No. 18), and his Judgement by the Court or Other

(ECF No. 22), it is ORDERED that:

       1.      Leave to proceed in forma pauperis is DENIED, pursuant to 28 U.S.C. § 1915(g),

for the reasons discussed in the Court’s Memorandum.

       2.      If he seeks to continue with this case, Christian must remit $400 to the Clerk of

Court within thirty (30) days of the date of this Order. If Christian fails to comply with this

Order, his case may be dismissed without further notice for failure to prosecute.

       3.      Christian’s Motion for Judgement (ECF No. 5), his Motions for Leave to File

Amended Complaint (ECF Nos. 10 & 12), and his Motion for Order for Judgement in Equity

(ECF No. 15) are DENIED WITHOUT PREJUDICE to reassertion only in the event Christian

pays the fees in accordance with this Order.


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         4.   To the extent that Christian’s Notices to the Court (ECF Nos. 11 & 23), General

Response (ECF No. 14), Notices/Proposals of Settlement (ECF Nos. 16, 17, & 19), Affidavit in

Support of Claim Upon Conclusive Evidence (ECF No. 18), or Judgement by the Court or Other

(ECF No. 22) seek any relief from the Court, these filings are also DENIED WITHOUT

PREJUDICE to reassertion only in the event Christian pays the fees in accordance with this

Order.

                                                          BY THE COURT:

                                                          s/ Michael M. Baylson

                                                          MICHAEL M. BAYLSON, J.




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